           2:23-cr-20050-CSB-EIL       # 37    Filed: 05/14/24     Page 1 of 1




                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF ILLINOIS
                             URBANA DIVISION
____________________________________________________________________________
UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff,              )
      v.                                  )     Case No. 23-CR-20050
                                          )
AMJAD ABUDAYYA,                           )
                                          )
                  Defendant.              )

       ORDER APPROVING MAGISTRATE JUDGE RECOMMENDATION

      On April 29, 2024, a Report and Recommendation (#30) was filed by United

States Magistrate Judge Eric I. Long in the above cause. More than fourteen (14) days

have elapsed and no objections have been made. This court therefore accepts the

recommendation of the Magistrate Judge. Accordingly, Defendant’s plea of guilty as to

Count 1 of the Indictment (#8) and agreement to forfeiture of the items described in the

notice of forfeiture are accepted. Defendant is adjudged guilty on that count. The court

orders that a pre-sentence investigation is to be prepared. A sentencing hearing

remains set for September 9, 2024, at 3:30 pm before this court.

                    ENTERED this 14th day of May, 2024.


                                  s/ COLIN S. BRUCE
                                 U.S. DISTRICT JUDGE
